          Case 1:18-cr-00340-LGS Document 368 Filed 07/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------x
UNITED STATES OF AMERICA         :
                                 :                           ORDER
          - v. -                 :
                                 :                           S3 18 Cr. 340 (LGS)
SOHRAB SHARMA,                   :
                                 :
                    Defendant.   :
                                 :
---------------------------------x

         WHEREAS, with defendant Sohrab Sharma’s consent, his guilty plea allocution was made

before a United States Magistrate Judge on July 17, 2020;

         WHEREAS, a transcript of the allocution was made and thereafter was transmitted to the

District Court; and

         WHEREAS, upon review of that transcript, this Court has determined that defendant Sharma

entered the guilty plea knowingly and voluntarily and that there was a sufficient factual basis for the

guilty plea;

         IT IS HEREBY ORDERED that defendant Sharma’s guilty plea is accepted.

SO ORDERED:

Dated:          New York, New York
                July 20, 2020
